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AO 9] (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

 

 

 

United States of America )
Vv. dy).
Shaila CAVAZOS (COB: United States YOB: 1995) -~=— ©@8@ No.M-21-2315-M

Keila SEGOVIA (COB: United States YOB: 1994)
)

)

Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 30, 2021 in the county of Hidalgo ‘in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description

21 USC 841 a did knowingly and intentionally possess with the intent to distribute
approximately 38.96 kilograms of Methamphetamine, a Schedule II controlled
substance.

21 USC 952 did knowingly and intentionally import with the intent to distribute
approximately 38.96 kilograms of Methamphetamine, a Schedule II controlled
substance.

rae was Uni District Court
This criminal complaint is based on these facts: United Staretrict of Texas
. ~ FILED
SEE ATTACHMENT A :

  
  

OcT 31 2021

Nathan Ochsner, Clerk

AS.

@ Continued on the attached sheet.

; /S/ Laron Smith
Approved for filing by AUSA J.Chung Complainant's signature

 

Laron Smith, HSI Special Agent

Printed name and title

 

Sworn to and executed by reliable electronic means, sworn to
and attested telephonically per FED.R.CR.4.1, and probable

cause found on:
Dae: _ 10/31/21 @ 739 p.m. LAO
: Zo / Judge ’s signature

City and state: McAllen, TX U.S. Magistrate Judge Juan F. Alanis

Printed name and title

 
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Attachment A M-21-2315-M

On October 30, 2021, at approximately 1552 hours, a black Honda Accord bearing Texas paper tag
#30137U3 driven by Shaila CAVAZOS arrived at the Progreso, Texas Port of Entry (POE) via lane #3.
CAVAZOS advised Customs and Border Protection Officers (CBPO) that she had taken her husband some
clothes in Progreso, Mexico because he had been deported on Thursday. CAVAZOS advised the officers
that the vehicle belonged to her cousin Keila SEGOVIA but she had been borrowing it for 3 days. A
registration check on the vehicle found that SEGOVIA was the owner of the vehicle. The vehicle was
escorted to secondary for further inspection. Within a short proximity of time while the vehicle was
being inspected, SEGOVIA attempted entry into the United States via the pedestrian lane at the Progreso
POE and was detained for questioning. CBPO received a negative oral declaration from CAVAZOS. CBP
K-9 Felicia (Badge# 160226) was deployed for an outer perimeter search of the vehicle. K-9 Felicia
alerted to the odor of controlled substance near the gas tank during the inspection of the vehicle. An X-
ray of the vehicle utilizing the Z-Portal system was conducted. An anomaly was found to the gas tank of
the vehicle. A more intrusive search was performed on the vehicle and a man made compartment was
found constructed inside the gas tank. The liquid inside of that compartment was field tested and tested
positive of methamphetamine. A total of 38.96 kg of methamphetamine in solution form was extracted
from the compartment. During a search of the inside of the vehicle, there were several receipts from
Western Union that listed SEGOVIA as the sender of currency to individuals in Mexico. There were also
boarding receipts from Greyhound Bus station that listed SEGOVIA as the customer.

At approximately 1914 hours, Homeland Security Investigations (HSI) Special Agent Laron Smith along
with CBPOE Lorenzo Botello read CAVAZOS her Miranda Rights in English and CAVAZOS agreed to be
interviewed. During the interview, CAVAZOS said that SEGOVIA had driven the vehicle from Matamoros,
Mexico and got out of the vehicle near the Progreso POE and told CAVAZOS to drive it into the United
States and that she would get back in the vehicle after it crossed the border and gave her a designated
time to call her. CAVAZOS said SEGOVIA had recruited her to assist with bringing illegal narcotics into the
U.S. and in exchange that SEGOVIA would help take care of CAVAZOS and her children since her husband
had been deported back to Mexico. CAVAZOS stated that SEGOVIA told her that if she was to get into
trouble for the narcotics inside of the vehicle, she would only get probation. CAVAZOS admitted that she
knew there was something illegal inside the vehicle. CAVAZOS stated that she and SEGOVIA had done
the same thing a couple of days ago using a different vehicle. The interview was concluded.

At approximately 2313 hours, SEGOVIA was read her Miranda Rights in English and asked if she
understood and she stated that she did and agreed to be interviewed by SA Smith and CBPO Botello.
After asking SEGOVIA to give a brief overview of what her day consisted of since early morning, she
stated that she had visited her boyfriend's mother in Matamoros. SEGOVIA stated that her friend Adeline
had given her a ride back to Progreso, Mexico. SEGOVIA then stated that she wanted her attorney and
refused to answer any other questions. The interview was concluded at 2322 hours. CBP crossing checks
showed that SEGOVIA had traveled from Mexico into the United States via the black Honda Accord on
October 6th, October 12th, October 14th, and October 15th of 2021. The crossing history also showed
that SEGOVIA traveled from Mexico into the United States in a different vehicle on October 18th,
October 20th, and October 22nd, 2021 and through the pedestrian lane on October 29th, 2021.
